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                          UNITED STATES BANKRUPTCY COURT
                                   District of Colorado


In re: Linda Suzanne Russell
       Debtor(s)                                         Case No.: 13-26137-SBB
                                                         Chapter: 13



                               NOTICE OF ENTRY ON DOCKET

NOTICE IS HEREBY GIVEN pursuant to Fed.R.B.P. 9022, that the following Judgment was
entered on the docket of the above case on 12/4/2013:


IT IS THEREFORE ORDERED that sanctions in the amount of $200.00 are hereby imposed against
Dustin Klein, counsel for the Debtor, for his failure to appear at the duly scheduled
hearing or otherwise advise the Court as to his non-appearance at the hearing. Said sum
shall be remitted directly to the Faculty of Federal Advocates on or before December 18,
2013. Mr. Klein shall notify the Court, in writing, of his compliance with this Order
and the Judgment on or before December 18, 2013.



                                                  FOR THE COURT:
                                                  Kelly J. Sweeney, Acting Clerk
